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                                    IN THE UNITED STATES DISTRICT COURT

                                        FOR THE DISTRICT OF OREGON



     ELLEN F. ROSENBLUM, Oregon Attorney                     Case No. 3:20-cv-01161-MO
     General,
                                                             PLAINTIFF'S NOTICE OF VOLUNTARY
                       Plaintiff,                            DISMISSAL

              v.

     JOHN DOES 1-10; the UNITED STATES
     DEPARTMENT OF HOMELAND
     SECURITY; UNITED STATES CUSTOMS
     AND BORDER PROTECTION; the UNITED
     STATES MARSHALS SERVICE and the
     FEDERAL PROTECTIVE SERVICE,

                       Defendants.


              In light of the defendant agencies having evidently ceased the conduct at issue in the

     Complaint, and pursuant to FRCP 41(a)(1)(A)(i), Plaintiff Ellen F. Rosenblum hereby dismisses

     this action without prejudice.


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     DATED September 16           , 2020.

                                                          Respectfully submitted,

                                                          ELLEN F. ROSENBLUM




                                                              s/ Sheila H Potter
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